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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 16-60190-cr-BLOOM

 UNITED STATES OF AMERICA

 vs.

 RAMON BATISTA,

                Defendant.
                                             /

                  MOTION FOR REDUCTION OF SENTENCE PURSUANT
                  TO FEDERAL RULE OF CRIMINAL PROCEDURE 35(b)
        Pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure, the United States of

 America hereby moves for a reduction in the sentence of defendant Ramon Batista in order to

 reflect his substantial assistance to the United States in prosecution of another individual. The

 United States respectfully requests that the Court schedule a Rule 35 hearing, at which time the

 government will provide additional details regarding the defendant’s substantial assistance.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY



                                       By:       ___________/s/
                                                 MATTHEW A. LAMBERTI
                                                 Court ID No. A5502226
                                                 Senior Counsel
                                                 Computer Crime and Intellectual Property Section
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 26th day of June 2020, the undersigned electronically

 filed the foregoing document with the Clerk of the Court using CM/ECF.



                                                              /s/
                                                         MATTHEW A. LAMBERTI
                                                         Senior Counsel
                                                         United States Department of Justice
